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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          2:21-MC-000270-WBS-CKD
12                  Plaintiff,
13                  v.                                  STIPULATION AND ORDER EXTENDING TIME
                                                        FOR FILING A COMPLAINT FOR FORFEITURE
14   APPROXIMATELY $340,100.00 IN U.S.                  AND/OR TO OBTAIN AN INDICTMENT
     CURRENCY,                                          ALLEGING FORFEITURE
15
     APPROXIMATELY $200,000.00 IN U.S.
16   CURRENCY,
17   APPROXIMATELY $85,553.00 IN U.S.
     CURRENCY,
18
     APPROXIMATELY $46,657.00 IN U.S.
19   CURRENCY,
20   APPROXIMATELY $18,650.00 IN U.S.
     CURRENCY, AND
21
     ASSORTED JEWELRY,
22
                    Defendants.
23

24          It is hereby stipulated by and between the United States of America and potential claimants

25 Owen Coumas (“Coumas”) and Black Diamond Boutique and Gallery, LLC (“Black Diamond”), by

26 and through their respective counsel, as follows:

27          1.      On or about August 9, 2021, claimants Coumas and Black Diamond filed claims in the

28 administrative forfeiture proceedings with the Drug Enforcement Administration with respect to the
                                                      1
29                                                                     Stipulation to Extend Time to File Complaint

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 1 Approximately $340,100.00 in U.S. Currency, Approximately $200,000.00 in U.S. Currency,

 2 Approximately $85,883.00 in U.S. Currency, Approximately $46,657.00 in U.S. Currency,

 3 Approximately $18,650.00 in U.S. Currency and the Assorted Jewelry (hereafter “defendant assets”),

 4 which were seized on May 11, 2021.

 5           2.      The Drug Enforcement Administration has sent the written notice of intent to forfeit

 6 required by 18 U.S.C. § 983(a)(1)(A) to all known interested parties. The time has expired for any

 7 person to file a claim to the defendant assets under 18 U.S.C. § 983(a)(2)(A)-(E), and no person other

 8 than the claimants have filed a claim to the defendant assets as required by law in the administrative
 9 forfeiture proceeding.

10           3.      Under 18 U.S.C. § 983(a)(3)(A), the United States is required to file a complaint for

11 forfeiture against the defendant assets and/or to obtain an indictment alleging that the defendant assets

12 are subject to forfeiture within ninety days after a claim has been filed in the administrative forfeiture

13 proceedings, unless the court extends the deadline for good cause shown or by agreement of the parties.

14 That deadline was November 7, 2021.

15           4.      By Stipulation and Order filed November 8, 2021, the parties stipulated to extend to

16 December 7, 2021, the time in which the United States is required to file a civil complaint for forfeiture

17 against the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject

18 to forfeiture.

19           5.      By Stipulation and Order filed December 8, 2021, the parties stipulated to extend to

20 February 7, 2022, the time in which the United States is required to file a civil complaint for forfeiture

21 against the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject

22 to forfeiture.

23           6.      By Stipulation and Order filed February 7, 2022, the parties stipulated to extend to April

24 8, 2022, the time in which the United States is required to file a civil complaint for forfeiture against

25 the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject to

26 forfeiture.

27           7.      By Stipulation and Order filed April 7, 2022, the parties stipulated to extend to June 7,

28 2022, the time in which the United States is required to file a civil complaint for forfeiture against the
                                                       2
29                                                                          Stipulation to Extend Time to File Complaint

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 1 defendant assets and/or to obtain an indictment alleging that the defendant assets are subject to

 2 forfeiture.

 3           8.      By Stipulation and Order filed June 6, 2022, the parties stipulated to extend to August 5,

 4 2022, the time in which the United States is required to file a civil complaint for forfeiture against the

 5 defendant assets and/or to obtain an indictment alleging that the defendant assets are subject to

 6 forfeiture.

 7           9.      By Stipulation and Order filed August 8, 2022, the parties stipulated to extend to

 8 October 4, 2022, the time in which the United States is required to file a civil complaint for forfeiture
 9 against the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject

10 to forfeiture.

11           10.     By Stipulation and Order filed October 5, 2022, the parties stipulated to extend to

12 December 3, 2022, the time in which the United States is required to file a civil complaint for forfeiture

13 against the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject

14 to forfeiture.

15           11.     By Stipulation and Order filed December 5, 2022, the parties stipulated to extend to

16 January 31, 2023, the time in which the United States is required to file a civil complaint for forfeiture

17 against the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject

18 to forfeiture.

19           12.     By Stipulation and Order filed February 2, 2023, the parties stipulated to extend to

20 March 31, 2023, the time in which the United States is required to file a civil complaint for forfeiture

21 against the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject

22 to forfeiture.

23           13.     By Stipulation and Order filed March 31, 2023, the parties stipulated to extend to May

24 30, 2023, the time in which the United States is required to file a civil complaint for forfeiture against

25 the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject to

26 forfeiture.

27           14.     By Stipulation and Order filed May 31, 2023, the parties stipulated to extend to July 28,

28 2023, the time in which the United States is required to file a civil complaint for forfeiture against the
                                                       3
29                                                                          Stipulation to Extend Time to File Complaint

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 1 defendant assets and/or to obtain an indictment alleging that the defendant assets are subject to

 2 forfeiture.

 3          15.     By Stipulation and Order filed July 26, 2023, the parties stipulated to extend to October

 4 23, 2023, the time in which the United States is required to file a civil complaint for forfeiture against

 5 the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject to

 6 forfeiture.

 7          16.     By Stipulation and Order filed October 25, 2023, the parties stipulated to extend to

 8 December 22, 2023, the time in which the United States is required to file a civil complaint for
 9 forfeiture against the defendant assets and/or to obtain an indictment alleging that the defendant assets

10 are subject to forfeiture.

11          17.     By Stipulation and Order filed December 15, 2023, the parties stipulated to extend to

12 February 20, 2024, the time in which the United States is required to file a civil complaint for forfeiture

13 against the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject

14 to forfeiture.

15          18.     By Stipulation and Order filed February 28, 2024, the parties stipulated to extend to

16 April 19, 2024, the time in which the United States is required to file a civil complaint for forfeiture

17 against the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject

18 to forfeiture.

19          19.     As provided in 18 U.S.C. § 983(a)(3)(A), the parties wish by agreement to further

20 extend to June 18, 2024, the time in which the United States is required to file a civil complaint for

21 forfeiture against the defendant assets and/or to obtain an indictment alleging that the defendant assets

22 are subject to forfeiture.

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29                                                                           Stipulation to Extend Time to File Complaint

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 1          20.    Accordingly, the parties agree that the deadline by which the United States shall be

 2 required to file a complaint for forfeiture against the defendant assets and/or to obtain an indictment

 3 alleging that the defendant assets are subject to forfeiture shall be extended to June 18, 2024.

 4 Dated: 4/17/2024                                       PHILLIP A. TALBERT
                                                          United States Attorney
 5
                                                  By:     /s/ Kevin C. Khasigian
 6                                                        KEVIN C. KHASIGIAN
                                                          Assistant U.S. Attorney
 7

 8 Dated: 4/17/2024                                       /s/ Linda M. Parisi
                                                          LINDA M. PARISI
 9                                                        Attorney for potential claimants
                                                          Owen Coumas and Black Diamond
10                                                        Boutique and Gallery, LLC
                                                          (Signature authorized by email)
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12          IT IS SO ORDERED.

13 Dated: April 18, 2024

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29                                                                           Stipulation to Extend Time to File Complaint

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